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AO 245B          (Rev. 09/I1) Judgment in a Criminal Case
vt               Sheet I



                                             UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA

                 UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                     V.

                       JASON SHANE PLAYER                                           Case Number: 2:14cr309-01-WKW

                                                                                    USM Number: 94191-020

                                                                                     Donnie Bethel
                                                                                    Defendants Attorney
THE DEFENDANT:
      pIeadcd guilty to count(s)          2 of the Indictment on 10/01/2014
El pleaded nolo contcndcre to count(s)
      which was accepted by the court.
El was found guilty on count(s)
      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                         Offense Ended               Count

     18:1791 (a)(2)                   Possessing Contraband in Prison                                            12/26/2011                 2




F
-1 See additional count(s) Ofl page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
D The defendant has been found not guilty oil

      Count(s)     1                                            is   El are dismissed oil        motion of the United States.

            It is ordered that the defendant mist notify the UniiedStates attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                            1/29/2015
                                                                            Date of Imposition oF Judgment




                                                                            Signature of Judge


                                                                           W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                            Name of Judge                                 Title of Judge



                                                                              -7/3 -5-
                                                                            Dat. /
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AU 245B         (Rev. 09/1 1) Judgment in a Criminal Case
VI              Sheet 2— Imprisonment

                                                                                                                      Judgment Page: 2 of 6
     DEFENDANT: JASON SHANE PLAYER
     CASE NUMBER: 2:14cr309-01-WKW


                                                                  IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
          15 Months. This term shall run consecutively to the sentence imposed in Middle District of Georgia, case no.
                       4:10-CR-1-CDL-001.



         Wf The court makes the following recommendations to the Bureau of Prisons:

         The Court recommends that defendant be designated to a facility where substance abuse treatment, mental health
         treatment, educational training, and vocational training are available.



             The defendant is remanded to the custody of the United States Marshal.

         E The defendant shall surrender to the United States Marshal for this district:
             E at __________ _________                      am.      El p.m. on

             El as notified by the United States Marshal.

         E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             E before                    on

             El as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office.



                                                                        RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                            to

     a                                                      with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL



                                                                                By______
                                                                                                      DEPUTY UNITED STATES MARSHAL
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AO 245B           (Rev. 09/11) Judgment in a Criminal Case
vi                Sheet 3—Supervised Release


 DEFENDANT: JASON SHANE PLAYER                                                                                              Judgment Page: 3 of 6
 CASE NUMBER: 2:14cr309-01-WKW
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     3 Years

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 F The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, fapplicable.)

 LI The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if apphcable.)
 LI The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

 n The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
   as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, is a student, or was convicted of a qualifying offense. (Check, fapplicable.)

 LI The defendant shall participate in an approved program for domestic violence. (Check, if apphcable.)
         lfthisjudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Pay ments sheet of this judgment.
           The defendant must comply with the standard conditions that hate been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcencnt officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
            permission of the court; and

     13)    as directed by the probation officer, the defendant shall notiv third parties of risks that may be occasioned by the defendants criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09/1 1) Judgment In a Criminal Case
vi             Sheet 3C - Supervised Release


 DEFENDANT: JASON SHANE PLAYER                                                                              Judgment Page: 4 of 6

 CASE NUMBER: 2:14cr309-01-WKW

                                             SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a mental health treatment program approved by the United States Probation Office and
     contribute to the cost based on ability to pay and availability of third party payments.

     Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
     include testing and treatment. Defendant shall contribute to the cost of any treatment based on ability to pay and the
     availability of third-party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
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AU 245B       (Rev. 09/I1) Judgment in a Criminal Case
V1             Sheet 5—Criminal Monetary Penalties

                                                                                                                         Judgment Page: 5 of 6
     DEFENDANT: JASON SHANE PLAYER
     CASE NUMBER: 2:14cr309-01-WKW
                                                 CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                                              Fine                             Restitution
 TOTALS             $ 100.00                                              $                                  $ $0.00



 L The determination of restitution is deferred until                            An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination,

 L     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priorityorder or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                                        Total Loss*                  Restitution Ordered Priority or Percenta2e




TOTALS                                                                                     $0.00                 $0.00




 L     Restitution amount ordered pursuant to plea agreement $

L      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

L      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       L the interest requirement is waived for the            LII fine       LII restitution.

       L the interest requirement for the           LII fine     L   restitution is modified as follows:



* Findings for the total anDunt of losses are required under Charters 109A, 110, 11 OA, and 113A of Title 18 foroffenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B        (Rev. 09/1 1) Judgment in a Criminal Case
VI             Sheet 6— Schedule of Payments

                                                                                                                             Judgment Page: 6 of 6
 DEFENDANT: JASON SHANE PLAYER
 CASE NUMBER: 2:14cr309-01-WKW


                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of$ 100.00                            due immediately, balance due

           U       not later than                                     , or
                   in accordance  fl C.                     D,           E, or       F below; or

 B fl Payment to begin immediately (may be combined with fl C,                             fl D, or fl F below); or
 C    fl Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                             (e.g. months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D    fl Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years). to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    fl Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    V Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36 10 1.




 Unless the court has"         ordered otherwise, if this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal monetary penalties. except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E Joint and Several

      Defendant and Co-Defendant Names and Case Numbers ('including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 L The defendant shall pay the cost of prosecution.
 L The defendant shall pay the following court cost(s):
 L The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
